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IN THE UNITED STATES DISTRICT COURT

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TE
FILED

 

 

 

 

 

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FOR THE NORTHERN DISTRICT OF TEXAS FEB - 6 2003
AMARILLO DIVISION
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ALLIANCE FOR HIPPOCRATIC § By
MEDICINE, er al., § =
§
Plaintiffs, §
§
v. § 2:22-CV-223-Z
§
U.S. FOOD AND DRUG §
ADMINISTRATION, et al., §
§
Defendants. §
ORDER

Before the Court ‘is Danco Laboratories, LLC’s (“Danco”) Unopposed Motion for Leave to
Intervene (“Motion”) (ECF No. 19), filed on January 13, 2023. Having considered the Motion, briefing,
and relevant law, the Court GRANTS the Motion.

BACKGROUND

Plaintiffs bring this suit against the United States Food and Drug Administration (“FDA”) and
other defendants. Plaintiffs challenge several FDA actions related to the approval of the chemical
abortion drugs mifepristone and misoprostol and ask the Court to hold them unlawful and set them aside
under 5 U.S.C. § 706(A)(2). ECF No. 1 at 2. On January 13, 2023, Danco — manufacturer of Mifeprex
(mifepristone) — moved to intervene.

LEGAL STANDARD

A. Intervention as of Right

Federal Rule of Civil Procedure 24(a) states that “[o]n timely motion, the court must permit
anyone to intervene who . . . claims an interest relating to the property or transaction that is the

subject of the action, and is so situated that disposing of the action may as a practical matter impair

 

 
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or impede the movant’s ability to protect its interest, unless existing parties adequately represent
that interest.” Thus, an applicant for intervention is entitled to intervention as of right if:
(1) the application for intervention [is] timely;

(2) the applicant [has] an interest relating to the property or transaction which is the
subject of the action;

(3) the applicant [is] so situated that the disposition of the action may, as a practical
matter, impair or impede his ability to protect that interest; [and]

(4) the applicant’s interest [is] inadequately represented by the existing parties to
the suit.

Rotstain v. Mendez, 986 F.3d 931, 936-37 (5th Cir. 2021) (alteration in original) (quoting
Int'l Tank Terminals, Ltd. v. M/V Acadia Forest, 579 F.2d 964, 967 (Sth Cir. 1978)). “Failure to
satisfy any one requirement precludes intervention of right.” Haspel & Davis Milling & Planting
Co. v. Bd. of Levee Comm'rs of the Orleans Levee Dist., 493 F.3d 570, 578 (Sth Cir. 2007).
“Although the movant bears the burden of establishing its right to intervene, Rule 24 is to be
liberally construed.” Wal-Mart Stores, Inc. v. Tex. Alcoholic Beverage Comm’n, 834 F.3d 562,
565 (Sth Cir. 2016).

B. Permissive Intervention

Rule 24(b)(1) provides: “On timely motion, the court may permit anyone to intervene who:
(A) is given a conditional right to intervene by a federal statute; or (B) has a claim or defense that
shares with the main action a common question of law or fact.” Permissive intervention is
committed to the court’s discretion, but the court “must consider whether the intervention will

unduly delay or prejudice the adjudication of the original parties’ rights.” FED. R. Crv. P. 24(b)(3).

 
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ANALYSIS

A. Permissive Intervention Should be Granted

Because the Motion is unopposed, the Court need not consider whether Danco can
intervene as of right. Instead, the Court should consider whether permissive intervention should
be granted. Here, Danco’s interest in protecting the continued availability of Mifeprex shares both

questions of law and fact in common with this case. Additionally, Danco moved to intervene within

 

weeks of first learning of its interest in the case. ECF No. 20 at 10. Therefore, intervention will
not unduly delay or prejudice the adjudication parties’ rights. Accordingly, the Court — in its
discretion — holds that permissive intervention should be granted.

CONCLUSION

For the foregoing reasons, the Court GRANTS the Motion.
SO ORDERED.
February o, 2023 hae

TTHEW J. KACSMARYK
ITED STATES DISTRICT JUDGE

 
